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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                               CASE NO: 2:15-cr-115-FtM-38CM

DANIEL VARGAS
_____________________________/

                                                ORDER1

        This matter comes before the Court on counsel for Defendant Daniel Vargas’

Motion for Individual Voir Dire or to Sever and Continue, or to Withdraw as Counsel (Doc.

#299) filed on January 17, 2017. Defendant’s counsel has a pending criminal case in Lee

County, Florida, and he is concerned that media publicity surrounding his case may

adversely affect his client at trial. Thus, he requests the Court to ask additional questions

to prospective jurors about their knowledge of his case during voir dire. Alternatively, he

requests to sever the trial or withdraw as counsel.

        The undersigned addressed this motion at the final pretrial conference. (Doc.

#306). After hearing counsel’s arguments, the Court explained to Defendant his right to

effective assistance of counsel, confirmed that Defendant knew of his counsel’s criminal

case, and discussed the potential impact of that case at his trial. (Doc. #306). Defendant

confirmed his knowledge of his counsel’s case and reiterated his desire for counsel to

represent him. After considering all matters, the Court orally found that Defendant has



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the right to the counsel of his choice and that he fully understands the potential

ramifications.2 (Doc. #306). With no objection from the Government, the Court granted

the request for additional voir dire questions, but denied the request to sever or withdraw.

(Doc. #306).

       Accordingly, it is now

       ORDERED:

       Defendant Daniel Vargas’ Motion for Individual Voir Dire or to Sever and Continue,

or to Withdraw as Counsel (Doc. #299) is GRANTED in part and DENIED in part. The

motion is granted to the extent that the Court will ask additional voir dire questions, but it

is denied in all other respects.

       DONE AND ORDERED at Fort Myers, Florida, this January 20, 2017.




Copies: Counsel of Record




2 At defense counsel’s request, the Honorable Carol Mirando held a hearing on December 7, 2016, to

inquire of Defendant Daniel Vargas about his knowledge and waiver of a potential conflict of interest
because of counsel’s criminal case. (Doc. #249; Doc. #251). Judge Mirando found no conflict of interest
and that Defendant knowingly waived any conflict. She permitted, therefore, defense counsel to continue
to represent Defendant.




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